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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §
                                      §
      Plaintiff,                      §                      Case No: 1:21-cv-10785-NMG
                                      §
vs.                                   §                      PATENT CASE
                                      §
NOTARIZE, INC.,                       §
                                      §
      Defendant.                      §
_____________________________________ §

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Notarize, Inc.

with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.



Dated: August 27, 2021.                       Respectfully submitted,
                                              Attorneys for Plaintiff
                                              Digital Verification Systems, LLC

                                              /s/Brendan M. Shortell
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NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                                |1
